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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT


SIERRA STUBBS and GAVIN JACKSON,


                       Plaintiffs,
v.
                                        Case No. 3:21-cv-01525
HEATHER GERKEN, ELLEN COSGROVE,
YASEEN ELDIK, and YALE UNIVERSITY,

                       Defendants.



                  DEFENDANTS’ MEMORANDUM OF LAW
                IN SUPPORT OF THEIR MOTION TO DISMISS
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                                         INTRODUCTION

       Yale Law School (“YLS”) students Sierra Stubbs and Gavin Jackson have sued YLS

Dean Heather Gerken, YLS Associate Dean of Students Ellen Cosgrove, and YLS Director of

Diversity, Equity, and Inclusion Yaseen Eldik, as well as Yale University, over harms Plaintiffs

allegedly suffered after another YLS student distributed a document (melodramatically called a

“dossier”) that circulated throughout YLS and was reported on by the national media and legal

blogosphere. The “dossier” purportedly chronicles meetings that Plaintiffs had with a YLS

professor, Amy Chua, at her home, in contravention of restrictions that Chua had agreed on with

YLS. Plaintiffs allege that when they complained to Cosgrove and Eldik about the third student’s

compilation and dissemination of the document, which spread around YLS like a high school

rumor, they were pressured to confirm that the allegations about Chua in the document were true.

See Sec. Am. Compl. (“SAC”) ¶¶ 52-55, ECF No. 30. Plaintiffs further allege that Cosgrove and

Eldik warned them about professional repercussions for not confirming the document’s

allegations, and that Cosgrove and Gerken shared a marked-up version of the widely-

disseminated document with a professor (the “Professor”) who was considering hiring them as

teaching assistants, to discourage him from hiring them. See id. ¶¶ 59–60, 70–72.1 They claim

they “lost” the teaching assistant jobs as a result, id. ¶ 97, but they pointedly do not allege that

they failed to receive teaching assistant offers from the Professor or from other YLS professors.2


1
  Defendants view the case as meritless and many of the factual allegations as flatly wrong, but
sufficiently detailed factual allegations in a complaint must be treated as true on a motion to
dismiss. Lynch v. City of New York, 952 F.3d 67, 75-76 (2d Cir. 2020). The allegations that
Defendants would dispute if the case survived this motion range from the broad (e.g., allegations
of efforts to “blackball” students or “retaliate” against them) to the particular (e.g., allegations
that Cosgrove ever met or even talked with the Professor about Plaintiffs).
2
  While not germane to this motion, public press accounts relate that Plaintiffs’ lead counsel has
backtracked, acknowledging that at least one of the Plaintiffs received an offer to serve as a
teaching assistant but declined and instead took a leave of absence. See Law student received
                                                   1
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       Plaintiffs allege that these events support seven causes of action against Defendants: a

breach of contract claim based on a non-retaliation policy in a university handbook, id. ¶¶ 84–88;

a promissory estoppel claim regarding the same alleged retaliation, id. ¶¶ 89–92; an intentional

interference with prospective business relationship claim, alleging that their potential

employment with all YLS professors and all federal judges has been undermined, id. ¶¶ 93–97; a

defamation claim based on two theories, one on Gerken and Cosgrove’s sharing of the widely-

available document with a single professor, and the other on an otherwise-uninvolved YLS

professor, Monica Bell, commenting on the lawsuit to a newspaper after seeing media reports

about it, id. ¶¶ 98–106; an unreasonable publicity claim arising from sharing the “dossier” with

the Professor, id. ¶¶ 107–110; a false light claim based on the same meeting with the one

Professor, id. ¶¶ 111–14; and an intentional infliction of emotional distress (“IIED”) claim, id. ¶¶

115–19.

       All seven fail to state a claim. The Yale anti-retaliation policy on which Plaintiffs base

their breach of contract claim was not yet even in effect when Plaintiffs allege they were

retaliated against, and in any event the policy prohibits retaliation based on complaints of

discrimination or harassment related to protected characteristics (such as race or gender), not on

any conceivable sort of alleged retaliation. Plaintiffs’ promissory estoppel claim fails because it

impermissibly duplicates their claim that a contractual promise against retaliation was breached,

and also because they fail to specify any promise outside that contract that was allegedly

breached. Their tortious interference claim fails because they do not allege any specific business



Coker fellowship, undermining case against Law School - Yale Daily News (Attorney John
“Balestriere explained that the damages do not refer simply to the awarding of the [teaching
assistant position], but rather to the fact that his client took a leave of absence from the Law
School as a result of this incident — and therefore did not undertake the [teaching assistant
position].”).

                                                 2
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relationships they had with professors or judges—except for their relationship with the Professor,

and as to him, they do not allege that he did not extend teaching assistant offers to them. The

defamation claim against Gerken and Cosgrove fails because Plaintiffs allege statements of

opinion, and their defamation claim relating to Bell’s statements likewise relies on opinion

statements—and opinions offered by a professor not alleged to have been part of the school’s

administration or in any other way acting in furtherance of her employer when she commented as

a law professor on a lawsuit. Plaintiffs’ unreasonable publicity and false light claims fail

because they do not allege Defendants ever publicized the already very-public “dossier,” which

they admit has attracted significant public interest. Finally, the IIED claim fails because it does

not allege extreme and outrageous conduct causing severe emotional distress.

         The suit should be dismissed in its entirety.

                                          BACKGROUND

    I.      Factual Allegations

         Stubbs and Jackson enrolled at YLS in 2019 and associated with Chua, who had “entered

a no-socializing agreement with [Yale] University whereby she agreed to not socialize with

students off-campus.” SAC ¶ 32, 38.3 Another student, concerned that Plaintiffs were

“‘deliberately enabling’ a ‘secret atmosphere of favoritism, misogyny, and sexual harassment,’”

id. ¶ 51, created what Plaintiffs call a “dossier,” which “purported to document the ‘secret dinner

parties’ that Chua was supposedly hosting with [Plaintiffs] and unidentified federal judges,” id. ¶

46. This “dossier,” which identified Plaintiffs by name through screenshots of text messages,

claims they had “‘repeatedly lied’ about the existence of the secret dinner parties.” Id. ¶ 49.



3
 Throughout this brief, unless otherwise indicated, emphasis is added and internal citations,
quotation marks, alterations, and ellipses are omitted.

                                                   3
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Plaintiffs allege that the “dossier” “circulate[d] among the [YLS] student body.” Id. ¶ 52. They

do not allege that any Defendant played any role in circulating it.

       After the “dossier” had widely circulated at YLS, Cosgrove (the Associate Dean of

Students) and Eldik (the Director of Diversity, Equity, and Inclusion) allegedly pressured

Plaintiffs to confirm the “dossier’s” allegations against Chua. Id. ¶¶ 53-55. When Plaintiffs

refused to do so, see id. ¶ 57, Cosgrove and Eldik warned them that the allegations against them

in the widely-disseminated “dossier” could have professional repercussions for them. Plaintiffs

allege that Cosgrove and Eldik told Stubbs the “dossier” would “likely end up in ‘every judges’

chambers,’” id. ¶ 59. They also allege that Cosgrove told Stubbs that because of the “dossier,”

YLS had been receiving complaints about her possibly serving as a Coker Fellow (a kind of

teaching assistant), id. ¶ 62, and that if she accepted a Coker Fellowship with the Professor, YLS

administrators “would approach the [P]rofessor with the allegations” regarding her, id. ¶ 63.

Plaintiffs also allege that Cosgrove and Eldik advised Jackson not to apply for a clerkship that

summer because of the “dossier’s” “wide publicity.” Id. ¶ 60.

       Plaintiffs then allege that Gerken and Cosgrove approached the Professor, who was in the

process of hiring Coker Fellows, “with the intent to induce the professor to decline to extend a

fellowship to either” Stubbs or Jackson, id. ¶ 70, and “convince him that [Stubbs] and [Jackson]

were lying about their interactions with Chua, making them untrustworthy and unsuited for

employment,” id. ¶ 71. “In the course of this attempt,” they allegedly brought a copy of the

“dossier” with them, which Cosgrove had “marked up with highlighting and annotations to show

where Cosgrove believed that [Stubbs] and [Jackson] were lying.” Id. ¶ 72.

       This is the sole allegation in the SAC of any Defendant sharing the “dossier” with anyone

at all. Plaintiffs never aver that the alleged attempt to convince the Professor not to offer them



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Coker fellowships worked. They do not allege that the Professor did not offer them Coker

fellowships. They do not allege that they did not receive offers of Coker fellowships from other

YLS professors.

       Plaintiffs allege that comments made about their lawsuit by Bell—a professor who

studies and writes about the law—have defamed them, and that Yale is to blame. Id. ¶¶ 79-82.

They do not allege that Bell served in any administrative position at Yale, or as its spokesperson.

But they complain that Bell spoke to the Yale Daily News, opining that their suit aimed “to

generate press attention and ‘cause a stir,’” that they “do not ‘think they can win’ the lawsuit, but

rather just want to ‘make things . . . look bad,;’” and that “this lawsuit is ‘frivolous’ and

‘embarrassing for’” Stubbs and Jackson. Id. ¶ 82.

       Plaintiffs assert these alleged actions caused them “significant career damage.” Id. ¶ 75.

They say Stubbs, due to “ongoing harassment” after the “dossier” was widely circulated (by

others) at YLS, took a leave of absence from YLS. Id. They do not allege what she is doing on

her leave of absence, but federal executive department websites of which this Court can take

judicial notice show that she is working at the U.S. Department of Commerce, under YLS

alumna (and former Yale Trustee) Commerce Secretary Gina Raimondo.4 They say Jackson—

who had been serving as Gerken’s speechwriter—resigned, but they do not allege Gerken fired

him or asked him to resign. Id. Plaintiffs aver that they have not (yet) applied for judicial

clerkships. Id. ¶ 76. They allege that their meeting with Cosgrove and Eldik, and Gerken and

Cosgrove’s meeting with the Professor, and Bell’s comments on their lawsuit, have caused them


4
 See Staff Directory (commerce.gov) (search for “Sierra” with “Stubbs”) (listing Stubbs as
employee in the Office of the Secretary (of Commerce)); Final Q1 FY 2022-2023 Attach J -
Glossary of Acronyms.docx (live.com) (defining “OS” as “Office of the Secretary”). Commerce
Secretary Gina Raimondo is a YLS graduate, see Gina M. Raimondo | U.S. Department of
Commerce, and former Trustee of Yale (from 2014-21). See Former Trustees | Yale University.

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significant damages. They complain of “insomnia, anxiety, nausea, and loss of appetite.” Id. ¶

77.

      II.      Procedural History

            Plaintiffs pseudonymously filed their original complaint, ECF No. 1, on November 15,

2021, and an amended complaint, ECF No. 26, on January 14, 2022. On January 19, 2022, after

the Court denied their motion to litigate pseudonymously, ECF No. 29, Plaintiffs filed the SAC.

The parties promptly filed the Joint Planning Report of the Parties, ECF No. 31, and the Court

entered a scheduling order, ECF No. 32, noting that it was “aware that defendants intend to seek a

stay of discovery. If defendants move for a stay of discovery, and the Court grants that motion, the

Court will revisit the scheduling order if and when any stay is lifted.”5 While Plaintiffs have

already filed three complaints in this suit, this is the only dispositive motion filed to date.

                                         LEGAL STANDARD

            “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

678. In assessing whether a claim is supported by the necessary “factual amplification . . . to

render a claim plausible,” Arista Records LLC v. Doe 3, 604 F.3d 110, 120 (2d Cir. 2010), courts

consider only “factual allegations, and the reasonable inferences that can be drawn therefrom, as



5
 Defendants filed a (corrected) motion to stay discovery, ECF No. 34, on January 26, 2022; the
next day, this Court denied that motion without prejudice to re-filing, ECF No. 35, noting that it
would consider a renewed motion to stay discovery after Defendants filed a motion to dismiss,
which would allow the court to determine “whether there are substantial grounds for dismissal.”

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true.” PHL Variable Ins. Co. v. Town of Oyster Bay, 929 F.3d 79, 89 (2d Cir. 2019). By contrast,

legal conclusions and conclusory factual allegations are not presumed true. Iqbal, 556 U.S. at

678. To the contrary, “[t]hreadbare recitals of the elements of a cause of action, supported by

mere conclusory statements, do not suffice.” id.; accord Twombly, 550 U.S. at 557 (holding that

a “naked assertion” devoid of “further factual enhancement” fails to state a claim).

         A court evaluating a motion to dismiss for failure to state a claim may consider any

attachments to a complaint as material incorporated by reference, Lynch v. City of New York, 952

F.3d 67, 79 (2d Cir. 2020), as well as material that is “integral to the complaint, or of which

courts can take judicial notice,” Lively v. WAFRA Inv. Advisory Grp., Inc., 6 F.4th 293, 305 (2d

Cir. 2021). Ultimately, “[w]hen the well-pleaded facts do not permit the court to infer more than

the mere possibility of misconduct, the court must grant a motion to dismiss.” Yamashita v.

Scholastic, Inc., 936 F.3d 98, 104 (2d Cir. 2019).

                                           ARGUMENT

         Plaintiffs have not soundly alleged any of their seven causes of action. Therefore, and for

the reasons stated below, the SAC should be dismissed in its entirety.

    I.      Plaintiffs’ Breach of Contract Claim Fails.

         Plaintiffs allege Defendants breached the Yale Policy Against Discrimination and

Harassment (the “Policy”), which they contend is a contract, by retaliating against them in

violation of the Policy’s prohibition against retaliation. 6 See generally SAC. ¶¶ 9, 73, 84–88.

Connecticut contract law requires Plaintiffs to prove formation of an agreement, performance by



6
  The non-retaliation policy is one of several university policies. See University Policies,
Procedures, Forms, and Guides, Yale University, https://your.yale.edu/university-policies-
procedures-forms-and-guides (last visited February 14, 2022). This brief refers to the policy
interchangeably as the “Policy” or the “Handbook,” which is the term that Plaintiffs use.

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one party, breach by the other party, and damages. Meyers v. Livingston, Adler, Pulda,

Meiklejohn and Kelly, P.C., 87 A.3d 534, 540 (Conn. 2014)).7 Plaintiffs have not adequately

pleaded a breach of contract claim arising out of the Policy for three independent reasons: (1) the

Policy did not exist when the events Plaintiffs complain of took place; (2) Plaintiffs do not allege

they were retaliated against for complaining of harassment at all; and (3) they do not allege they

were retaliated against for complaining of the type of harassment prohibited by the Policy.

       A.      Plaintiffs plead that the Policy is a contract.

       Plaintiffs plead that the Policy is “by its own terms a binding contract.” SAC ¶ 9. That is

consistent with Connecticut law, which recognizes that the relationship between a student and

university is contractual. See, e.g., Doe v. Quinnipiac Univ., 404 F. Supp. 3d 643, 667 (D. Conn.

2019) (noting that the “basic legal relation between a student and a private university or college

is contractual in nature” and that the “regulations of the institution determine the contractual

relationship between the student and the educational institution.” Numerous courts have found

that university student handbooks represent enforceable contracts “between the school and its

active students.” Bradley v. Yovino, 2021 WL 3722706, at *2 (Conn. Super. July 26, 2021).

       B.      This Court may consider the Policy language on this motion to dismiss.

       Plaintiffs did not attach the Policy to their Amended Complaint, but they incorporate it by

reference, SAC ¶¶ 9, 73, 86 (naming policy and quoting from it), and it is integral to their breach

of contract claim. It should thus be treated as part of the complaint. See, e.g., Trahan v. Lazar,

457 F. Supp. 3d 323, 341 (S.D.N.Y. 2020) (“extrinsic documents may be considered as part of

the pleadings if they either are (1) attached to the complaint; (2) incorporated into the complaint



7
 Plaintiffs bring only state law claims involving conduct in Connecticut. All are governed by
Connecticut law in this diversity action.

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by reference; or (3) integral to the complaint”); Colon v. Town of W. Hartford, 2001 WL 45464,

*1 n.1 (D. Conn. Jan. 5, 2001) (even “where a plaintiff does not attach to the complaint or

incorporate by reference a document on which it relies,” if it “is integral to the complaint, a

defendant may introduce that document as part of a motion attacking the pleadings”); cf. Lively,

6 F.4th at 306 (“[O]n a motion for judgment on the pleadings, courts may consider all documents

that qualify as part of the non-movant’s pleading, including (1) the complaint or answer, (2)

documents attached to the pleading, (3) documents incorporated by reference in or integral to the

pleading, and (4) matter of which the court may take judicial notice.”); see generally Chambers

v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002) (where plaintiff had “actual notice” of the

documents and “relied upon the documents in framing the complaint,” it was properly considered

part of the complaint). That makes good sense, because in:

       most instances where this exception is recognized, the incorporated material is a
       contract or other legal document containing obligations upon which the plaintiff’s
       complaint stands or falls, but which for some reason—usually because the
       document, read in its entirety, would undermine the legitimacy of the plaintiff’s
       claim—was not attached to the complaint.

Goel v. Bunge, Ltd., 820 F.3d 554, 559 (2d Cir. 2016); see also Estate of Axelrod v. Flannery,

476 F. Supp. 2d 188, 200 (D. Conn. 2007) (“The primary purpose of this exception is to prevent

plaintiffs from generating complaints invulnerable to rule 12(b)(6) simply by clever drafting.”).

Unsurprisingly, “if a document relied on in the complaint contradicts allegations in the

complaint, the document, not the allegations, control, and the court need not accept the

allegations in the complaint as true.” Curtis v. Aetna Life Ins. Co., 2021 WL 1056785, at *6 (D.

Conn. Mar. 18, 2021); cf. L-7 Designs, Inc. v. Old Navy, LLC, 647 F.3d 419, 422 (2d Cir. 2011)

(noting that on a motion for judgment on the pleadings, a court assumes pleaded facts to be true

“unless contradicted by more specific allegations or documentary evidence”).



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       The Policy is integral to the Second Amended Complaint. “A document is integral to the

complaint where the plaintiff (1) has ‘actual notice’ of the document and its information and (2)

has ‘relied upon the documents in framing the complaint.’” McLennon v. City of New York, 171

F. Supp. 3d 69, 89 (E.D.N.Y. 2016) (quoting Chambers, 282 F.3d at 153). “Typically, an

integral matter is a contract, agreement, or other document essential to the litigation.” Palin v.

N.Y. Times Co., 940 F.3d 804, 811 (2d Cir. 2019). In fact, “where [a] claim is for breach of

contract, the complaint is deemed to incorporate the contract by reference because the contract is

integral to the plaintiffs’ claim.” Xiotech Corp. v. Express Data Prods. Corp., 11 F. Supp. 3d

225, 230 n.3 (N.D.N.Y. 2014) (collecting cases); see Axiom Inv. Advisors, LLC v. Deutsche Bank

AG, 234 F. Supp. 3d 526, 533 (S.D.N.Y. 2017) (“the contract itself . . . by definition is integral to

the complaint”) (citing Interpharm, Inc. v. Wells Fargo Bank, Nat’l Ass’n, 655 F.3d 136, 141 (2d

Cir. 2011)). Plaintiffs’ contract claim relies on the Policy, which the SAC repeatedly references.

Id. ¶¶ 9, 73, 84–88. The Policy language should be considered by the Court in deciding this

motion to dismiss.

       C.      Plaintiffs do not plausibly allege Defendants breached the Policy.

       It is not surprising that Plaintiffs did not attach a copy of the Policy—which is publicly

available to them or anyone visiting Yale’s website, see 9000 Yale University Policy Against

Discrimination and Harassment | It's Your Yale, and is attached here as Exhibit 1-A—to the

SAC. If they had, it would have been obvious that their breach of contract claim fails for three

reasons. First, the Policy was not in effect when the events they complain of took place. Second,

they do not allege that they ever “reported a concern, filed a complaint, and/or participated in an

investigation pursuant to this policy,” i.e., the Policy Against Discrimination and Harassment

based on specifically defined protected characteristics. Third, they do not allege that they



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“reported a concern, filed a complaint, and/or participated in an investigation” concerning

discrimination or harassment.

           1.      The Policy was not in effect when the events Plaintiffs complain of
                   occurred.

       The Policy text states that it has an “effective date” of August 1, 2021, and a “revision

date” of January 1, 2022. See 9000 Yale University Policy Against Discrimination and

Harassment | It's Your Yale (noting both dates). Both dates come after the events that they

complain of, SAC ¶¶ 39-73 (alleging events between February 2021 and April 2021).8 Their

reliance on a Policy that did not exist at the relevant time, and which has no retroactive language,

dooms their contract claim. Plaintiffs have failed to state a claim for the breach of a contractual

provision—the Policy—because it did not exist at the time of the alleged breach.

           2.      Plaintiffs do not allege they reported a concern, filed a complaint, or
                   participated in an investigation related to “protected characteristics” as
                   defined in the Policy.

       The Policy text prohibits retaliation against members of the Yale community who have

“reported a concern, filed a complaint, and/or participated in an investigation pursuant to this

policy.” Id.; accord SAC ¶73, ¶ 86 (citing that precise language). The term “this policy” plainly

refers to the Policy in which that clause occurs, i.e., the 9000 Yale University Policy Against

Discrimination and Harassment | It's Your Yale. Only a limited set of concerns, complaints and

investigations is covered by the Policy. They all involve “Discrimination” or “Harassment,” as

carefully defined by the Policy.

       The Policy defines “Discrimination” as:


8
 The SAC alleges that Plaintiffs “entered into a binding contract, the Handbook,” when they
enrolled in “Fall 2019 and Fall 2020.” Id. ¶ 85. Both enrollments predate the August 2021
Policy.

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       treating an individual adversely in University admissions or in the conduct of
       educational programs or employment based on sex, sexual orientation, gender
       identity or expression, race, color, national or ethnic origin, religion, age,
       disability, status as a special disabled veteran, veteran of the Vietnam era or
       other covered veteran, or membership in any other protected classes as set forth
       in Connecticut and federal law (“protected characteristics”).

Id. It defines “Harassment” as:

       subjecting an individual to objectively offensive, unwelcome conduct based on
       any of the protected characteristics, when such conduct (i) is severe, persistent, or
       pervasive and (ii) has the purpose or effect of unreasonably interfering with the
       individual’s work, academic performance or participation in university activities
       or creates an intimidating or hostile environment. Harassment may be found in a
       single severe episode, as well as in persistent behavior. Harassment is evaluated
       using a “reasonable person” standard.

Id. And it defines “Retaliation” as:

       any adverse action taken against a person who has reported a concern, filed a
       complaint, and/or participated in an investigation pursuant to this policy.
       Retaliation includes conduct that would discourage a reasonable person from
       engaging in activity protected under this policy. Retaliation may be present even
       where there is a finding of “no responsibility” on the underlying allegations of
       Discrimination or Harassment. Retaliation does not mean good faith actions
       lawfully pursued in response to a report of Discrimination or Harassment. In
       determining whether an act constitutes Retaliation, the context of the act will be
       considered, including the individual’s exercise of free expression in accordance
       with Yale’s free expression policies.
Id.

       The Policy aims to combat “Discrimination, Harassment, and Retaliation.” Id. It prohibits

Retaliation to ensure that the protections against Discrimination and Harassment are not

undermined by retaliation against those who report, complain of, or participate in an

investigation of Discrimination or Harassment, even if the reported Discrimination or

Harassment is ultimately found not to have occurred. To that end, the Policy’s definition of

Retaliation notes that “Retaliation may be present even where there is a finding of ‘no

responsibility’ on the underlying allegations of Discrimination or Harassment.” Id. In short, the

Policy’s prohibition on Retaliation concerns only retaliation against those involved in reports of


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Discrimination or Harassment. The Policy nowhere suggests it addresses retaliation for other

issues, unconnected to allegations of Discrimination or Harassment.

       Contracts are interpreted according to the “ordinary meaning” of their words, with the

contract “construed as a whole and in such a manner as to give effect to every provision, if

reasonably possible.” Peter-Michael, Inc. v. Sea Shell Assocs., 709 A.2d 558, 561 (Conn. 1998).

Here, the Policy defines “Retaliation” to mean retaliation in response to complaints of

discrimination or harassment based on a “protected characteristic” identified in the Policy, such

as race or sex.

       Plaintiffs do not claim that Defendants retaliated against them because Plaintiffs

“reported a concern, filed a complaint, and/or participated in an investigation” regarding

“protected characteristics.” Id.9 They do not allege that they reported a concern, filed a

complaint, or participated in an investigation concerning adverse treatment or objectively

offensive conduct relating to a protected characteristic like race or sex. To be sure, the SAC

repeatedly invokes generic harassment, alleging that the “dossier” circulated by another student

subjected them to “harassment” and that they complained about that harassment to Defendants.

SAC ¶¶ 53, 57, 65-66, 75, 85, 91. But none of those allegations refer to Harassment as defined in

the Policy: “subjecting an individual to objectively offensive, unwelcome conduct based on any

of the protected characteristics.” 9000 Yale University Policy Against Discrimination and



9
  The SAC never alleges that Eldik retaliated against Plaintiffs; he is not even alleged to have
shared the “dossier” with the Professor. The breach of contract claim against him fails on this
basis too. Moreover, the breach of contract claim cannot survive against any of the individual
Defendants. There is no basis for holding individual university administrators accountable for
alleged breaches of a contract between a student and a university. While Connecticut law
recognizes that the “basic legal relation between a student and a private university or college is
contractual in nature,” Doe, 404 F. Supp. 3d at 667, that contract is between the student and the
university, not between the student and individual administrators or professors.

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Harassment | It's Your Yale (attached as Exhibit 1-A). The Policy defines “protected

characteristics” clearly and comprehensively: “sex, sexual orientation, gender identity or

expression, race, color, national or ethnic origin, religion, age, disability, status as a special

disabled veteran, veteran of the Vietnam era or other covered veteran, or membership in any

other protected classes as set forth in Connecticut and federal law.” Id. Because Plaintiffs do

not (and could not) allege that they were subjected to objectively offensive, unwelcome conduct

based on any of those protected characteristics, they have not alleged that they were subject to

Harassment as defined in the Policy.

        Instead, they allege that they complained to Defendants of behavior that could

colloquially be characterized as harassment, but that does not fall within the definition of

Harassment provided in the Policy. For example, they allege that they complained of harassment

in the form of an “invasion of privacy,” SAC ¶ 57, and of “false rumors being spread by other

students,” and of purported “lies and misrepresentations” in the “dossier,” see id. ¶¶ 65–66. They

claim (falsely) that they were retaliated against because they refused to state that a YLS

professor was violating YLS rules. That is not a “protected characteristic[],” so the Policy does

not aid them. The generic, undefined retaliation they allege bears no connection to the

“Retaliation” carefully defined in the Policy. See e.g., id. (complaining of retaliation due to

“false rumors spread by other students” and purported “lies and misrepresentations”). In short,

Plaintiffs’ breach of contract claim has no basis in the language of the alleged contract.

            3.      Plaintiffs do not allege they were retaliated against for reporting a
                    concern, filing a complaint, or participating in an investigation.

        Plaintiffs also do not allege they were retaliated against because they complained of

harassment, even if harassment were defined colloquially, instead of as a defined term in the

Policy. Plaintiffs allege that they were harassed, see, e.g., SAC ¶ 57, that they complained to


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Cosgrove and Eldik about the harassment, see, e.g., id., that their complaints were ignored, see,

e.g., ¶¶ 57–58, 65, and that Gerken and Cosgrove retaliated against them, see, e.g., id. ¶¶ 70–72.

But they do not claim the alleged retaliation occurred because of their complaints about

harassment—they do not allege that Defendants approached the Professor, see id. ¶ 70, because

Plaintiffs complained they were being harassed due to the circulation of the “dossier.”

       Rather, Plaintiffs explicitly and repeatedly allege they were retaliated against for an

entirely different reason: their refusal to make a statement against Chua. The SAC

straightforwardly states that Gerken and Cosgrove “approached the professor to presumably

dissuade him from offering a Coker Fellowship to [Stubbs and Jackson] because they refused to

make statements against Chua.” Id. ¶ 87. And in introducing the SAC, they allege “[w]hen

Plaintiffs refused” “to make knowingly and materially false statements in a formal complaint

against Chua,” “Gerken and Cosgrove retaliated by speaking with the professor and telling him

that he should not hire [Stubbs and Jackson] because of their ‘lack of candor,’ despite Plaintiffs’

steadfast refusal to lie to further the University’s crusade against Chua”). Id. ¶¶ 7–8; cf. id. ¶ 71

(“The purpose of Gerken and Cosgrove’s approach to the professor was to not only dissuade him

from offering a Coker Fellowship to [Stubbs and Jackson], but to convince him that [Stubbs and

Jackson] were lying about their interactions with Chua . . . .”). Allegations that Gerken and

Cosgrove retaliated against Plaintiffs for not supporting accusations against Chua are not

allegations of Retaliation as defined in the Policy. Retaliation “means any adverse action taken

against a person who has reported a concern, filed a complaint, and/or participated in an

investigation,” 9000 Yale University Policy Against Discrimination and Harassment | It's Your

Yale (attached as Exhibit 1-A), not adverse action against a person who refused to further a

“crusade against” a professor, SAC ¶ 8.



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         Plaintiffs offer one conclusory allegation to the contrary. They say Gerken and Cosgrove

“approached the professor as retaliation for Plaintiffs [Stubbs and Jackson]’s reporting a

harassing and defamatory report [the “dossier”].” Id. ¶ 5. But this conclusory allegation

contradicts the SAC’s numerous more-specific allegations that Gerken and Cosgrove retaliated

against Plaintiffs because they would not speak out against Chua. Courts in the Second Circuit

have consistently recognized that when a plaintiff’s “own pleadings are internally inconsistent, a

court is neither obligated to reconcile nor accept the contradictory allegations in the pleadings as

true in deciding a motion to dismiss.” E.g., Reid v. United States, 2020 WL 3256331, at *6

(E.D.N.Y. June 15, 2020) (citing Hirsch v. Arthur Andersen & Co., 72 F.3d 1085, 1095 (2d Cir.

1995); Salahuddin v. Jones, 992 F.2d 447, 449 (2d Cir. 1993)); Siddiqui v. Rocheleau, 2019 WL

12239678, at *13 (D. Conn. May 15, 2019) (same); see also Perry v. NYSARC, Inc., 424 F.

App’x 23, 25 (2d Cir. 2011) (noting that a court need not accept as true “factual assertions that

are contradicted by the complaint itself, by documents upon which the pleadings rely, or by facts

of which the court may take judicial notice”). This Court should evaluate the breach of contract

claim in light of the multiple specific factual allegations, not the one contradictory conclusory

allegation. See Hirsch, 72 F.3d at 1095–96 (upholding dismissal where “attenuated allegations”

supporting claim were contradicted “by more specific allegations in the Complaint”).

   II.      Plaintiffs’ Promissory Estoppel Claim Impermissibly Duplicates Their Contract
            Claim.

         Plaintiffs’ promissory estoppel claim fails because it impermissibly duplicates their

breach of contract claim. “Under the doctrine of promissory estoppel, Connecticut courts will

enforce ‘[a] promise which the promisor should reasonably expect to induce action or

forbearance on the part of the promisee or a third person and which does induce such action or

forbearance . . . if injustice can be avoided only by enforcement of the promise.’” Holcombe v.


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Ingredients Solutions, Inc., 2019 WL 1383432, at *5 (D. Conn. Mar. 27, 2019) (quoting

D’Ulisse-Cupo v. Bd. of Directors of Notre Dame High Sch., 520 A.2d 217, 221 (Conn. 1987)

(reversing an Appellate Court judgment that had upheld promissory estoppel claims)). An

equitable claim for promissory estoppel claim can survive only if “there is no written contract.”

Miller Auto. Corp. v. Jaguar Land Rover N. Am., 2010 WL 3260028, at *8 (D. Conn. Aug. 12,

2010) (Burns, J.).

       Plaintiffs’ promissory estoppel claim is supported by a single allegation describing the

supposed promise: “Defendants made a clear and definite promise to [Stubbs and Jackson] that

they would not retaliate against them if they ever complained of harassment.” SAC ¶ 90. In fact,

the word “promise” does not appear anywhere in the SAC except ¶ 90 and ¶ 91 (which asserts

reliance on the promise). But this paragraph, asserting the alleged promise that Defendants

“would not retaliate against them if they ever complained of harassment,” merely duplicates the

Policy provision prohibiting Retaliation. In other words, the promissory-estoppel promise is the

same as the breach-of-contract promise. Compare SAC ¶ 90 (“Defendants made a clear and

definite promise to [Stubbs and Jackson] that they would not retaliate against them if they ever

complained of harassment.”) with id. ¶ 85 (Stubbs and Jackson “entered into a binding contract,

the Handbook, with all members of Yale’s community—whereby the administration explicitly

agreed not to retaliate against students who make harassment complaints.”); see also 9000 Yale

University Policy Against Discrimination and Harassment | It's Your Yale (attached as Ex. 1-A

(defining terms). The SAC contains no allegation that any Defendant made any other promise to

any Plaintiff. Plaintiffs’ promissory estoppel claim therefore cannot stand. See Holcombe, 2019

WL 1383432, at *7 (finding promissory estoppel claim failed as duplicative where plaintiff

sought “recovery under a theory of promissory estoppel for commitments she claims were



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captured in an enforceable contract”). Without alleging a separate and distinct promise not

covered in the contract they claim, Plaintiffs’ promissory estoppel claim cannot survive.

       To be sure, a plaintiff can maintain alternative claims for breach of contract and

promissory estoppel “when there is an issue of whether the [written] agreement may be too

indefinite as to allow for contract formation.” See Glazer v. Dress Barn, Inc., 873 A.2d 929, 963

(Conn. 2005). But Plaintiffs allege that the Policy constitutes an enforceable contract, see SAC ¶

85, and Defendants agree, see supra at 8; see also Burns v. Quinnipiac Univ., 991 A.2d 666, 673-

74 (Conn. App. 2010) (finding that a university handbook formed part of the contract between

the plaintiff law student and the defendant university). While Plaintiffs’ breach of contract claim

should be dismissed for the reasons given above in Part I, the only promise alleged in the SAC is

the promise Yale ostensibly made in the Policy. Neither Yale nor any other Defendant is alleged

to have made any other, independent promise. Accordingly, even if this Court finds (as it

should) that the Policy did not exist when the events Plaintiffs complain of occurred, Plaintiffs’

promissory estoppel claim has no basis.

       Finally, and in any event, Plaintiffs’ promissory estoppel claim cannot survive because it

incorporates their breach of contract claim. See SAC ¶¶ 84-88 (alleging the existence of a

contract and a breach of that contract); id. ¶ 89 (incorporating all prior allegations). While parties

can plead breach of contract and promissory estoppel claims in the alternative, the alternative

pleading of an equitable, quasi-contract claim “cannot be accomplished by the express

incorporation of a claim of a breach of contract.” Michel v. Yale Univ., --- F. Supp. 3d ----, 2021

WL 2827358, at *9 (D. Conn. July 7, 2021) (finding the plaintiff failed to state a quasi-contract

claim for unjust enrichment because he incorporated breach of contract allegations by reference

into his unjust enrichment claim); see also Miller, 2010 WL 3260028, at *8 (holding that



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“incorporating paragraphs describing an enforceable contract renders a promissory estoppel

claim invalid”). Doing so “is not alternative pleading, but rather is internally and legally

inconsistent within the count itself”; Plaintiffs thus “failed to assert a distinct, alternative cause

of action.” See Michel, 2021 WL 2827358, at *10.

     III.        Plaintiffs’ Intentional Interference Claim Aails to State a Claim.

            A plaintiff alleging a tortious interference claim must plead “(1) a business relationship

between the plaintiff and another party; (2) the defendant’s intentional interference with the

business relationship while knowing of the relationship; and (3) as a result of the interference,

the plaintiff suffers actual loss.” See Hi-Ho Tower, Inc. v. Com-Tronics, Inc., 761 A.2d 1268,

1273 (Conn. 2000). Plaintiffs do not allege a business relationship with any third party except

for the Professor and do not allege that they suffered any actual loss as a result of Defendants’

supposed interference.

            A.      Plaintiffs do not allege an existing business relationship with anyone other
                    than the Professor.

            Plaintiffs plausibly allege a business relationship with the Professor. But in alleging they

“had a prospective relationship with Yale’s professors and judges’ chambers around the

country,” SAC ¶ 94, they ignore Connecticut law and offer only speculation.10

            Connecticut law requires tortious interference claims to aver the specific business

relationships that were allegedly interfered with. “Tortious interference requires proof that a

defendant intentionally interfered with. . . . a specific business relationship or relationships.”

Baer v. New England Home Delivery Servs., LLC, 2007 WL 3173701, at *3 (Conn. Super. Oct.

18, 2007). “Courts have dismissed tortious interference with business expectancy claims when


10
  In addition, to the extent this claim is based on the sharing of the “dossier,” it fails against
Eldik, who is not alleged to have shared it with anyone.

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plaintiffs fail to allege specific opportunities or relationships that the defendant has interfered

with.” Kollar v. Allstate Ins. Co., 2017 WL 3222535, at *11 (D. Conn. July 27, 2017). “Simply

put, the plaintiffs cannot establish a claim for tortious interference with a business expectancy

with a third party that they cannot identify.” Callahan v. Callahan, 2017 WL 3332743, at *2

(Conn. Super. Ct. June 27, 2017).

       Other than the Professor, Plaintiffs do not identify any specific relationships. Instead,

they sweep broadly, alleging that they “had a prospective relationship with Yale’s professors and

judges’ chambers around the country.” SAC ¶ 94. That is a categorical allegation, and it does not

meet the requirement that a plaintiff “identify” the “specific” person or organization whose

relationship a defendant allegedly interfered with. Plaintiffs’ allegation mirrors the deficient

allegations of the plaintiff in the recent case of Michalsky v. Moffly Publications, Inc., 2020 WL

5537003 (Conn. Super. Aug. 13, 2020). There, a former employee alleged his former employers

retaliated against him by firing him “and falsely asserting that he was being fired for cause, as a

fraudulent and oppressive effort to interfere with his ability to get a new job.” Id. at *1. The

plaintiff also alleged “that he will have job applications and he will have interviews and the false

termination for cause will be communicated.” Id. at *11. The court struck the plaintiff’s

interference claim because the plaintiff had failed to “allege a specific business relationship and

an actual false communication to that prospective employer,” and had also failed to allege that

any such specific “relationship has actually been interfered with.” Id.; see also One Barberry

Real Estate Holding, LLC v Maturo, 2021 WL4430599, at *24 (D. Conn. Sept. 27, 2021)

(dismissing a claim for tortious interference because plaintiffs failed to “identify a specific

relationship or opportunity that Defendants caused them to forego”).




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       Accordingly, the only specific relationship that satisfies this requirement is Plaintiffs’

relationship with the Professor. Plaintiffs’ tortious interference claim directed at their speculative

relationships with every judge in the United States and every professor at YLS should be

dismissed.

       B.      Plaintiffs do not adequately allege actual loss.

       Plaintiffs’ tortious interference claim should also be dismissed in its entirety—including

as to their relationship with the Professor—because they fail to plausibly allege actual loss.

“Unlike other torts in which liability gives rise to nominal damages even in the absence of proof

of actual loss,” “it is an essential element of the tort of unlawful interference with business

relations that the plaintiff suffered actual loss.” Am. Diamond Exch. v. Alpert, 28 A.3d 976, 986

(Conn. 2011). That requires a plaintiff to plead “the pecuniary loss to the plaintiff”; “it is

essential to a cause of action for unlawful interference with business that it appear that, except

for the tortious interference of the defendant, there was a reasonable probability that the plaintiff

would have entered into a contract or made a profit.” Kelly v. Kurtz, 219 A.3d 948, 967 (Conn.

App. 2019); Golek v. Saint Mary’s Hosp., Inc., 34 A.3d 452, 462 (Conn. App. 2012) (affirming

holding that plaintiff failed to prove actual loss and rejecting a “claim that an allegation of

damage to his professional reputation suffices to establish actual loss”). Courts appropriately

dismiss tortious interference claims that inadequately plead actual loss. See, e.g., Summerhill v.

City of Meriden, 2012 WL 1004298, at *3 (striking tortious interference claim for failure to

“allege any supporting facts” on actual loss); Deutsch v. Backus Corp., 2011 WL 522849, at *8

(Conn. Super. Ct. Jan. 14, 2011) (concluding “plaintiff has not alleged facts legally sufficient to

state a tortious interference with business expectancies cause of action” because plaintiff “failed

to state with legal sufficiency that the defendants tortiously interfered in his business

relationships with his patients because he has not alleged an actual loss”).
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           Plaintiffs have not adequately alleged they suffered actual loss. They allege they “lost

the Coker Fellowship, and will potentially suffer further losses in the form of clerkships.” SAC

¶ 97. As to the Coker fellowships, the allegation of “lost” teaching assistant positions constitutes

conclusory pleading, not the necessary factual averments of actual loss. They don’t allege the

Professor denied either of them a Coker fellowship, or that they even applied to the Professor for

a Coker fellowship. They don’t allege that any other professor denied them a Coker fellowship,

or that they applied to other professors for the position.11 They don’t allege that, because they

“lost” the fellowships, they made less money this year than they currently make in other jobs. In

short, they plead no factually-based theory of actual loss.

           The same is true for “losses in the form of clerkships.” They speculate that they will

“potentially suffer losses in the form of clerkships,” but they don’t allege what they actually lost.

In fact, they admit they haven’t even applied for clerkships, id. ¶ 11. These attenuated allegations

are far from the concrete allegations of actual loss needed to state a claim of tortious

interference.

     IV.      Plaintiffs’ Defamation Claim Is Fatally Deficient.

           Plaintiffs’ defamation claim offers two theories, one based on allegations regarding the

individual Defendants and one based on allegations regarding Bell’s response to the filing of this

lawsuit. Neither states a claim. Both theories fail because Plaintiffs complain of non-actionable

opinions, not facts. Moreover, the allegations on both theories lack the necessary specificity.




11
  They don’t allege they didn’t receive offers of Coker fellowships because they can’t. See supra
n.1 (implying Plaintiffs “lost” Coker fellowships in the sense that they chose not to accept them).

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Finally, the defamation theory directed at Bell’s statements cannot be attributed to Yale under

the doctrine of respondeat superior.12

       A.        Plaintiffs complain of opinions, not facts.

       To establish a prima facie case of defamation, a plaintiff must demonstrate that “(1) the

defendant published a defamatory statement; (2) the defamatory statement identified the plaintiff

to a third person; (3) the defamatory statement was published to a third person; and (4) the

plaintiff’s reputation suffered injury as a result of the statement.” Gleason v. Smolinski, 125

A.3d 920, 947 (Conn. 2015). But “a defendant cannot be held liable for expressing a mere

opinion.” NetScout Sys., Inc. v. Gartner, Inc., 223 A.3d 37, 47 (Conn. 2020). A factual

statement—also known as an “objective fact”—“relates to an event or state of affairs that existed

in the past or present and is capable of being known.” Goodrich v. Waterbury Republican-

American, Inc., 188 Conn. 107, 111 (1982). By contrast, an opinion—sometimes referred to as

evaluative statement—“is a personal comment about another’s conduct, qualifications or

character that has some basis in fact.” Id. Courts determining whether a statement is an

evaluative opinion or a statement of objective fact examine three factors:

       (1) whether the circumstances in which the statement is made should cause the
       audience to expect an evaluative or objective meaning; (2) whether the nature and
       tenor of the actual language used by the declarant suggests a statement of
       evaluative opinion or objective fact; and (3) whether the statement is subject to
       objective verification.

Id. at 49–50. “Whether a statement is an assertion of a fact or an assertion of an opinion is a

question of law.” Crismale v. Walston, 194 A.3d 301, 313 (Conn. App. 2018).

            1.      Plaintiffs do not allege that Gerken and Cosgrove made defamatory
                    factual statements when sharing the “dossier.”


12
  Neither theory implicates Eldik, who is not alleged to have shared the “dossier” or offered
comments about Plaintiffs’ lawsuit to the press.

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       Plaintiffs allege Gerken and Cosgrove shared the marked-up copy of the “dossier” “to

show where Cosgrove believed that Stubbs and Jackson were lying,” SAC ¶ 72, and otherwise

convince the Professor that Stubbs and Jackson “were lying about their interactions with Chua,

making them untrustworthy and unsuited for employment,” id. ¶ 71.

       In other words, Plaintiffs complain that Gerken and Cosgrove believed that they were

lying and showed the Professor parts of the “dossier” that they thought supported their belief in

Plaintiffs’ lack of candor. Those are textbook opinion statements, not statements of fact.

Plaintiffs essentially contend that Gerken and Cosgrove had no right to express their opinions

about Plaintiffs’ candor and suitability for a Coker fellowship; in other words, they had no right

to evaluate Plaintiffs statements and draw their own subjective conclusions. That position

contravenes Connecticut law. An earlier case brought by a student against Yale is instructive. In

Johnson v. Schmitz, 119 F. Supp. 2d 90 (D. Conn. 2000), a Yale graduate student sued Yale and

two Yale faculty members, alleging that the professors defamed him by stating (in a meeting

with other professors) that the student’s “ideas were ridiculous and unoriginal” and that the

student “did not have what it took to write a thesis and be awarded a Ph.D.” See id. at 101–02.

Noting that “the law protects even exaggerated or hyperbolic language of opinion,” id. at 101,

Judge Arterton easily concluded that the statements were “merely expressions of opinion” under

Connecticut law, id at 102. The plaintiff argued that the opinion statements were not protected

because the defendants did not “actually believe[] the truth of the criticisms they made of” him,

but the court rejected that argument, noting that even “a false opinion is not actionable under

defamation law.” Id. The gravamen is whether a plaintiff has pleaded defamatory statements that

have “a factual basis.” See id. ; see also CSL Silicones, Inc. v. Midsun Grp., Inc., 301 F. Supp. 3d

328, 376 (D. Conn. 2018) (dismissing a defamation claim based on a sued party’s statement of



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belief as a “non-actionable statement[] of opinion”); Cassidy v. Lawson, 2005 WL 2508593, at

*5 (D. Conn. Sept. 29, 2005) (finding the defendant’s statement about the plaintiff’s

“motivations” was a “protected expression of pure opinion”); cf. Levin v. McPhee, 119 F.3d 189,

197 (2d Cir. 1997) (“When the defendant’s statements, read in context, are readily understood as

conjecture, hypothesis, or speculation, this signals the reader that what is said is opinion, and not

fact.”) (applying materially identical New York law); Rodriguez v. Am. Friends of the Hebrew

Univ., Inc., 1998 WL 146227, at *8-9 (S.D.N.Y. Mar. 25, 1998) (finding no defamation under

New York law where the defendant “deliberately disparaged plaintiff’s performance” so that she

would get fired, because such disparagement constituted a statement of opinion).

       Here, the SAC acknowledges that Cosgrove and Gerken “believed” the evaluative

opinions they allegedly shared with the Professor: that Plaintiffs were lying and their lack of

candor made them unsuited to serve as Coker fellows. The SAC does not allege that Gerken and

Cosgrove made any statements of objective fact, as opposed to evaluative opinion statements.

       Other than the allegations relating to the sharing of the “dossier” in Paragraphs 70-72, the

only statement in the SAC potentially applicable to the defamation theory arising from Gerken

and Cosgrove’s alleged actions is an assertion that “Defendants shared and stated numerous false

statements defaming Sierra and Gavin to third parties.” SAC ¶ 99. While it reiterates the

allegation of the sharing of the “dossier,” the paragraph does not offer any other factual

allegations, and so fails to satisfy Iqbal and the basic requirements of defamation pleading.13



13
  See Stevens v. Helming, 135 A.3d 728, 732 n.3 (Conn. App. 2016) (“A complaint for
defamation must, on its face, specifically identify what allegedly defamatory statements were
made, by whom, and to whom.”); Berry, 2018 WL 1749970, at *5 (dismissing a defamation
count that alleged a defendant “defamed the plaintiff by saying and/or inferring that the plaintiff
was a threat or menace to children” as insufficiently specific); Devone v. Finley, 2014 WL
1153773, at *8 n.3 (D. Conn. Mar. 20, 2014) (finding that Rule 8(a) requires a plaintiff to allege
“the detail necessary for a court to determine which statements were allegedly defamatory.”);
                                                 25
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            2.      Plaintiffs do not allege that Bell’s alleged statements to the press are
                    actionable statements of objective fact.

         Plaintiffs allege Bell defamed them by mischaracterizing their lawsuit. They say she:

        accused them “of bringing their suit not to seek a remedy for wrongs, but out of improper
         motivations and intentions,” SAC ¶ 80;
        accused them of “acting with the sole intent of disrupting Yale’s process of considering
         whether to reappoint Gerken as Dean of [YLS] with press attention,” id. ¶ 81; and
        told the Yale Daily News that Plaintiffs filed this lawsuit to “cause a stir,” and do not
         “think they can win,” id. ¶ 82.

Those allegations are incorporated in the single paragraph of the defamation count referring to

Bell, which states that “Yale, through Bell, also shared and stated that Plaintiffs, by pursuing this

litigation, have the sole intention of generating media attention to interfere with Gerken’s potential

reappointment as Dean . . . .” Id. ¶ 100.14 None of these allegations state a claim for defamation.

         “Courts in [Connecticut] and others, as well as federal courts, have consistently

determined that characterizing a lawsuit as frivolous, foolish or in some other derogatory manner

constitute matters of opinion.” See, e.g., Traylor v. Parker, 2016 WL 5003981, at *4 (Conn.

Super. Aug. 4, 2016); Stevens v. Helming, 2014 WL 3805495, at *9 (Conn. Super. June 23,

2014) (finding a statement that “could be reasonably understood to speculate on the probable

outcome of a hypothetical litigation” was a “speculative statement [that] does not give rise to

defamation liability”); cf. Dunbar v. Omnicom Grp., Inc., 2021 WL 633732, at *15 (D. Conn.

Feb. 18, 2021) (finding that “press statements, released by parties to commercial litigation,

and/or statements by a litigant condemning an opponent’s legal claims as baseless, frivolous, or


Learning Care Grp., Inc. v. Armetta, 2014 WL 12651264, at *7 (D. Conn. Sept. 30, 2004) (“[A]
defamation complaint must at least plead the content of the alleged communications, when they
were made, the context in which they were made, or by and to whom they were made to satisfy
the requirements of notice pleading.”).
14
 All four paragraphs seem to refer to statements to the Yale Daily News. See Two students sue
Yale Law administrators for alleged retaliation in Amy Chua case - Yale Daily News.

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without merit are non-actionable opinions, and therefore not libelous or defamatory, as a matter

of law”). Bell’s alleged statements that Plaintiffs had “improper motivations and intentions,” that

they aimed to disrupt the YLS process of reappointing Dean Gerken, and that they filed the suit

to gain publicity, not to win, are all non-actionable opinions under Connecticut law.

       B.      Yale is not responsible for Professor Bell’s alleged commentary.

       Plaintiffs’ defamation theory arising out of Bell’s alleged statements fails for a second

reason: her actions can’t be imputed to Yale under the doctrine of respondeat superior.15

Connecticut courts have “long adhered to the principle that in order to hold an employer liable

for the intentional torts of his employee, the employee must be acting within the scope of his

employment and in furtherance of the employer’s business.” See A-G Foods, Inc. v. Pepperidge

Farm, Inc., 579 A.2d 69, 73 (Conn. 1990). In determining whether an employee has acted

within the scope of her employment, “courts look to whether the employee’s conduct: (1) occurs

primarily within the employer’s authorized time and space limits; (2) is of the type that the

employee is employed to perform; and (3) is motivated, at least in part, by a purpose to serve the

employer.” Harp v. King, 835 A.2d 953, 974 (Conn. 2003). Unless an employee was at least

partly motivated to serve her employer, the employer is not liable. A-G Foods, 579 A.3d at 74.

       The SAC contains no factual allegations satisfying those elements. It does not allege

Bell’s duties as a professor at Yale, whether she was engaged in those duties when she allegedly

defamed Plaintiffs, or how her supposedly defamatory statements to the Yale Daily News aimed

to serve her employer. See Williams v. Freije, 2011 WL 6976570, at *3 (Conn. Super. Dec. 15,


15
   Plaintiffs’ defamation claim is brought against all Defendants. While they allege Yale is
responsible for Bell’s allegedly defamatory statements, see, e.g., Compl. ¶ 100, they do not
allege that Gerken, Cosgrove, or Eldik are responsible for Bell’s statements. That provides an
independent basis for dismissal of the defamation theory based on Bell’s comments as against
the individual Defendants.

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2011); see also Doe v. Danbury Hosp., 2021 WL 402055, at *3 (Conn. Super. Jan. 12, 2021)

(dismissing claims alleged under a vicarious liability theory because the plaintiff offered “no

factual allegations” that the defendant’s “actions were intended in any way to advance the

interests” of her employer). Instead of offering any factual allegations to support a theory of

respondeat superior, Plaintiffs offer a bit of laconic ipse dixit: Bell’s conduct was allegedly

committed by “Yale, through Bell.” SAC ¶ 100. That’s about as “[t]hreadbare” as an allegation

can be. Iqbal, 556 U.S. at 678.

      V.        Plaintiffs’ Unreasonable Publicity and False Light Claims Are Baseless.

           Plaintiffs’ unreasonably publicity and false light claims (the “Privacy Claims”) are both

necessarily based on Gerken and Cosgrove’s presentation of the marked-up “dossier” to the

Professor, see SAC ¶ 72, which is the only factual allegation in the SAC concerning the sharing

of private facts about the Plaintiffs with any third party.16 The Privacy Claims themselves merely

assert the elements of the causes of action. See id. ¶ 108 (unreasonable publicity) (“Defendants

broadcast matters concerning the private lives of [Plaintiffs] that would be highly offensive to a

reasonable person”); id. ¶ 112 (false light) (“Defendants have placed [Plaintiffs] in a false light

which would be highly offensive to a reasonable person”). Both Privacy Claims fail because

Plaintiffs do not allege the “dossier” was ever publicized. The unreasonable publicity claim also

fails because the contents of the “dossier” were not private when the “dossier” was shared with

the Professor and it contains matters of legitimate public concern.

           A.      The unreasonable publicity and false light claims fail because Plaintiffs do
                   not allege that Defendants shared the “dossier” with more than one person.




16
     Eldik is not alleged to have shared the “dossier” with anyone, so these claims against him fail.

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       Connecticut tort law protects privacy interests with four doctrines, two of which are the

torts of unreasonable publicity and false light. Foncello v. Amorossi, 931 A.2d 924, 929 (Conn.

2007). They have similar elements. An unreasonable publicity claim requires showing “public

disclosure of any matter that (a) would be highly offensive to a reasonable person, and (b) is not

of legitimate concern to the public.” Perkins v. Freedom of Info. Comm’n, 635 A.2d 783, 790

(Conn. 1993). A false light claim requires showing “that the false light in which she was placed

would be highly offensive to a reasonable person, and the actor had knowledge of or acted in

reckless disregard as to the falsity of the publicized matter and the false light in which she would

be placed.” Borg v. Cloutier, 239 A.3d 1249, 1268 (Conn. App. 2020). “The essence” of a false

light claim is “the matter published concerning the claimant (1) is not true and (2) is such a major

misrepresentation of her character, history, activities or beliefs that serious offense may

reasonably be expected to be taken by a reasonable person in her position.” Id.

       Both claims require public disclosure. See Goguen v. Brezniak, 2021 WL 4895129, at *6-

7 (Conn. Super. Sept. 21, 2021) (striking an unreasonable publicity claim because the plaintiff

failed to allege the defendant publicly made the statement at issue, finding “the defendant’s

statement is not a public statement made for general consumption, but rather the equivalent of

office gossip”); Berry v. Zalon, 2018 WL 1749970, at *4 (Conn. Super. Mar. 8, 2018) (striking a

false light claim because the plaintiff did not sufficiently allege “the element of publicity”).

Consistent with both torts’ origins in the Restatement,17 Connecticut courts draw the definition of

“publicity” from the Restatement. See Kuselias v. Niederkohr, 2021 WL 4775623, at *3 (Conn.

Super. Sept. 17, 2021). That definition, found in Section 652D of the Restatement, applies to


17
  Perkins drew the unreasonable publicity elements from Section 652D of the Restatement
(Second) of Torts. Perkins, 635 A.2d at 789-90. The false light elements were adopted from
section 652E. See Goodrich, 448 A.2d at 1330 (Conn. 1982).

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both false light claims and unreasonable publicity claims. Berry, 2018 WL 1749970, at *4. As

defined there, “publicity” means

       that the matter is made public, by communicating it to the public at large, or to so
       many persons that the matter must be regarded as substantially certain to become
       one of public knowledge. Thus, it is not an invasion of the right of privacy to
       communicate a fact concerning the plaintiff’s private life to a single person or
       even to a small group of persons.

Id. (quoting Restatement (Second) of Torts § 652D cmt. a (1977)). Indeed, “publicity can only

involve communication that is made in public.” Kuselias, 2021 WL 4775623, at *3. Ultimately,

“[u]nlike the limited publication required to state a claim for defamation, the publicity element . .

. requires publication . . . to the public at large or to so many persons as to make it substantially

certain that the matter will become public knowledge.” Grigorenko v. Pauls, 297 F. Supp. 2d

446, 448 (D. Conn. 2003) (collecting cases).

       Plaintiffs do not allege that any Defendant published the “dossier” to the public at large.

They allege only that Gerken and Cosgrove shared a marked-up copy of the “dossier” with one

person: the Professor. See SAC ¶ 72. It “is not an invasion of the right of privacy to

communicate a fact concerning the plaintiff’s private life to a single person.” Berry, 2018 WL

1749970, at *4 (quoting Restatement (Second) of Torts § 652D cmt. a). While Plaintiffs allege

the “dossier” was “circulate[d] among the [YLS] student body,” SAC ¶ 52, they do not allege

that any Defendant circulated it or shared it with anyone other than the Professor, in a private

meeting. Plaintiffs thus fail to satisfy the “publicity” element for both Privacy Claims.

       B.      The unreasonable publicity claim also fails because the contents of the
               “dossier” were not private when shared.

       Plaintiffs’ unreasonable publicity claim also fails because by the time Gerken and

Cosgrove allegedly shared the “dossier” with the Professor, it had already been spread through

the law school grapevine. An “essential question” with regard to unreasonable publicity claims


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“is whether the [claimant] alleges that the matter publicized concerned his ‘private life.’” See

Rizzitelli v. Thompson, 2010 WL 3341516, at *6 (Conn. Super. Aug. 2, 2010). But there “is no

liability when the defendant merely gives further publicity to information about the plaintiff that

is already public.” Restatement (Second) of Torts § 652D cmt. b.

       When Cosgrove and Gerken allegedly shared the “dossier” with the Professor, its

contents had already been made public. Indeed, Plaintiffs allege the “dossier” “had begun to

circulate among the [YLS] student body” in “late April 2021.” SAC ¶ 52. While Plaintiffs do not

specify the date on which Cosgrove and Gerken shared it with the Professor, the timeline set

forth in the SAC makes clear that they allege Cosgrove and Gerken shared the “dossier” after it

was already circulating at YLS. Only after the “dossier” began to circulate did Cosgrove and

Eldik contact Plaintiffs concerning it, id. ¶ 53, and only after Cosgrove, Eldik, and Gerken

allegedly pressured Plaintiffs to issue a statement against Chua did Cosgrove and Gerken

allegedly approach the Professor with the marked-up “dossier,” see id. ¶ 70; see generally id. ¶¶

53–70 (detailing the days-long conversations between Plaintiffs and Cosgrove, Eldik, and

Gerken concerning the “dossier”). At most, Cosgrove and Gerken gave “further publicity to

information about [Plaintiffs] that [was] already public.” Restatement (Second) of Torts § 652D

cmt. b. The unreasonable publicity claim thus fails for this additional reason. See Glatzel v.

Brittle, 2010 WL 4620975, at *2-3 (Conn. Super. Oct. 25, 2010) (finding “all of the information

republished by the defendants . . . was previously made public” and holding that the plaintiff

failed to plead a claim for unreasonable publicity).

       C.      The unreasonable publicity claim also fails because the contents of the
               “dossier” have attracted great public interest.

       “When the subject-matter of the publicity is of legitimate public concern, there is no

invasion of privacy.” Restatement (Second) of Torts § 652D cmt. d. Plaintiffs themselves allege


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that the “dossier” was of legitimate public concern: “The Dossier eventually gained such wide

circulation that it became the subject of investigative reporting from news outlets including The

New Yorker, The New York Times, and The Atlantic.” See SAC ¶ 47.

        Press coverage went far beyond the examples Plaintiffs cite. See, e.g., Lizzie

Widdicombe, What is Going On at Yale Law School?, The New Yorker (June 19, 2021),

www.newyorker.com/news/annals-of-education/what-is-going-on-at-yale-law-school; Dahlia

Lithwick & Susan Matthews, Meltdown at Yale Law, Slate (May 15, 2021, 3:45 PM),

www.slate.com/news-and-politics/2021/05/amy-chua-yale-law-school-dinner-parties.html;

Sarah Lyall & Stephanie Saul, Gripped by ‘Dinner Party-gate,’ Yale Law Confronts a Venomous

Divide, N.Y. Times (June 7, 2021), www.nytimes.com/2021/06/07/us/amy-chua-yale-law.html

(discussing the backdrop of this case, which “has been adjudicated all over social media and

picked up in outlets ranging from The Chronicle of Higher Education to Fox News”); see also

Philip Mousavizadeh, Law Student Received Coker Fellowship, Undermining Case Against Law

School, Yale Daily News (Dec. 2, 2021, 1:16 AM),

https://yaledailynews.com/blog/2021/12/02/law-student-received-coker-fellowship-undermining-

case-against-law-school/ (reporting that Stubbs received a Coker fellowship); David Lat, The

Yale Law School Scandals: Dean Heather Gerken Speaks, Original Jurisdiction (Nov. 18, 2021),

https://davidlat.substack.com/p/the-yale-law-school-scandals-dean (“[I]n case the significance of

this is still unclear, this is not only the lesson being taught to the future lawyers of America, but

to the future holders of high office who will be positioned to make decisions that will affect a

nation and its citizens.”).18



18
  This Court can take judicial notice of the fact of the publications, though not of the reported
facts. Staehr v. Hartford Fin. Servs. Grp., Inc., 547 F.3d 406, 425 (2d Cir. 2008); see also
Lawrence v. Altice USA, 2020 WL 108980, at *1 (D. Conn. Jan. 9, 2020) (“Courts may take
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   VI.        Plaintiffs’ IIED claim Does Not Pass Muster.

         Plaintiffs’ IIED claim, which stems from Gerken and Cosgrove’s supposed “retaliation,”

see SAC ¶ 116, must also fail. A plaintiff alleging an IIED claim must show:

         (1) that the actor intended to inflict emotional distress or that he knew or should
         have known that emotional distress was the likely result of his conduct; (2) that
         the conduct was extreme and outrageous; (3) that the defendant’s conduct was the
         cause of the plaintiff’s distress; and (4) that the emotional distress sustained by
         the plaintiff was severe.

Appleton v. Bd. of Educ., 757 A.2d 1059, 1062 (Conn. 2000). Plaintiffs’ claim fails for two

separate reasons: it does not allege that Gerken and Cosgrove engaged in “extreme and

outrageous” conduct, or that Plaintiffs have suffered “severe” emotional distress.

         A.      Gerken and Cosgrove’s alleged conduct was not extreme and outrageous.

         IIED claims:

         are often pleaded but rarely get very far because liability for this intentional tort
         has been found “only where the conduct has been so outrageous in character, and
         so extreme in degree, as to go beyond all possible bounds of decency, and to be
         regarded as atrocious, and utterly intolerable in a civilized community.”

Grigorenko, 297 F. Supp. 2d at 449 (quoting Appleton, 757 A.2d at 1062). Whether conduct is

“extreme and outrageous” is a “question, in the first instance, for the court.” Watkins v. City of




judicial notice of facts not subject to reasonable dispute either because they are generally known
in the relevant community or can be accurately and readily determined from sources whose
accuracy cannot reasonably be questioned.”). Such publicly available documents include news
articles, which can be noticed “for the fact of their publication.” E.g., HB v. Monroe Woodbury
Cent. Sch. Dist., 2012 WL 4477552, at *5 (S.D.N.Y. Sept. 27, 2012); accord Pension Comm. of
the Univ. of Montreal Pension Plan v. Banc of Am. Secs., LLC, 446 F. Supp. 2d 163, 175-76
(S.D.N.Y. 2006) (“Courts may . . . take judicial notice of . . . press articles, for the fact of their
publication.”); In re Merrill Lynch & Co. Research Reports Sec. Litig., 289 F. Supp. 2d 416, 425
n.15 (S.D.N.Y. 2003) (“The Court may take judicial notice of newspaper articles for the fact of
their publication without transforming the motion into one for summary judgment.”). Taking
judicial notice of the publications does not mean taking judicial notice of the facts reported.
Defendants take issue with several of the facts reported and opinions offered in the publications.

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Waterbury Bd. of Educ., 2020 WL 1184783, at *3 (D. Conn. Mar. 11, 2020); accord Tracy v.

New Milford Pub. Schs., 922 A.2d 280, 286 (Ct. App. 2007).

       The bar for extreme and outrageous conduct is high. “Connecticut courts have been

reluctant to allow claims for intentional infliction of emotional distress . . . and in applying

Connecticut law, federal courts in this District have interpreted the extreme and outrageous

requirement strictly.” Saliga v. Chemtura Corp., 2015 WL 5822589, at *21 (D. Conn. Oct. 1,

2015); see also Alleva v. Stamford Health Grp., 2019 WL 3248816, at *3 (Conn. Super. June 6,

2019) (“With respect to claims of intentional infliction of emotional distress, [Connecticut]

appellate courts have set a high and sometimes seemingly insurmountable hurdle.”) (citing

Carrol v. Allstate Ins. Co., 815 A.2d 119, 126 (Conn. 2003); Di Terisi v. Stamford Health Sys.,

Inc., 63 A.3d 1011, 1020-22 (Conn. App. 2013)).

       Plaintiffs do not clear that high bar. Their claim stems from Gerken and Cosgrove

approaching the Professor with a marked-up copy of the “dossier” “to show where Cosgrove

believed that [Plaintiffs] were lying.” See SAC ¶ 72 (alleging details concerning Gerken and

Cosgrove’s meeting with the Professor), ¶ 116 (tying their IIED claim to this meeting).19 This

conduct is not extreme or outrageous. Plaintiffs acknowledge that Cosgrove “believed” what she

allegedly said. See Cerejo v. Cerejo, 2012 WL 3089772, at *6 (Conn. Super. June 29, 2012)

(making allegations that are “honestly believed to be true” does “not amount to extreme and

outrageous conduct”). Moreover, even attempts to “destroy [a person’s] professional reputation

and career” in a manner far more insidious than Plaintiffs allege here are not extreme and

outrageous under the IIED doctrine. See Garfinkle v. Jewish Family Serv. of Greater Hartford,


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  Eldik is not alleged to have participated in the meeting. While Plaintiffs allege he said the
“dossier” would “likely end up in ‘every judges’ chambers,’” they do not say he shared the
“dossier” with anyone or threatened to. SAC ¶ 59. The claim against him should be dismissed.

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Inc., 2020 WL 8264101, at *6 (Conn. Super. Dec. 15, 2020) (“Even the allegations that the

defendants conspired with the Claims Conference in an attempt to force JCS Florida to terminate

the plaintiff and destroy his professional reputation and career, are insufficient to allege a cause

of action for intentional infliction of emotional distress.”); Gillians v. Vivanco-Small, 15 A.3d

1200, 1204 (Conn. App. 2011) (finding that a “concerted effort to remove an employee . . . does

not constitute outrageous conduct” even where the plaintiff alleged “defendants vindictively

conspired to terminate the plaintiff’s employment” in retaliation for filing a grievance);

Grigorenko, 297 F. Supp. 2d at 448-49 (finding an allegation by a Yale School of Medicine

(YSM) professor that two faculty colleagues wrote a letter to the YSM Dean accusing her of

plagiarism and misrepresenting evidence could not “reasonably be characterized as extreme and

outrageous.”).

       B.        Plaintiffs do not plausibly allege they suffered severe emotional distress.

       In addition to not alleging extreme and outrageous conduct, Plaintiffs have not plausibly

pled severe emotional distress. They allege that Defendants’ actions caused them “insomnia,

anxiety, nausea, and loss of appetite,” SAC ¶ 117, as well as “pain and suffering, inconvenience

and loss of enjoyment of life,” id. ¶ 118. But these allegations, devoid of “factual amplification,”

Arista Records, 604 F.3d at 120, do not make their IIED claim plausible. Connecticut law

requires more than a list of alleged ailments. “Emotional distress is unlikely to be considered

severe in the absence of treatment, medical, psychological, or otherwise.” Maselli v. Reg’l Sch.

Dist. No. 10, 235 A.3d 599, 617 (Conn. App. 2020). And Plaintiffs do not allege they sought

medical treatment for the alleged ailments, or that the ailments lasted for an extended period.

See, e.g., Perez-Dickson v. City of Bridgeport, 43 A.3d 69, 102 (Conn. 2012) (“There was no

evidence that the plaintiff was in distress for an extended period or that she sought medical



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treatment.”). In short, Plaintiffs do not allege they suffered the severe emotional distress

required for an IIED claim to survive a motion to dismiss.

                                         CONCLUSION

        For the reasons above, the Court should dismiss the SAC in its entirety.



                                                      DEFENDANT YALE UNIVERSITY

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